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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

MICHIGAN ASSOCIATION OF NON-PUBLIC                        )
SCHOOLS, et al.,                                          )
                      Plaintiffs,                         )
                                                          )       No. 1:20-cv-1174
-v-                                                       )
                                                          )       Honorable Paul L. Maloney
ROBERT GORDON,                                            )
                                 Defendant.               )
                                                          )

                                                ORDER

        This matter is before the Court on Plaintiffs’ motion for a preliminary injunction

(ECF No. 6). Plaintiffs sought to enjoin Defendant Director of Michigan Department of

Health and Human Services Robert Gordon from enforcing a December 7, 2020

Emergency Order against them, effectively allowing religious high schools to reopen for in-

person instruction and education. However, that Order expired on December 20, 2020, and

it has been replaced with a new Emergency Order that allows all schools to open for in-

person instruction as of 12:01 a.m. today.1 As of this morning, Plaintiffs have received the

relief they seek, and therefore, their motion seeking injunctive relief is moot. Accordingly,

Plaintiffs’ motion for preliminary injunction (ECF No. 6) is DISMISSED as moot.

        IT IS SO ORDERED.

Date: December 21, 2020                                                      /s/ Paul L. Maloney
                                                                          Paul L. Maloney
                                                                          United States District Judge


1
 See Director Gordon’s December 18 Gatherings and Face Mask Order, ¶ 5(a), available at
https://www.michigan.gov/coronavirus/0,9753,7-406-98178_98455-547899--,00.html (last accessed December 21,
2020).
